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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: No.: 0:22-CV-60710

  CHRISTOPHER GUARNIZO,

          Plaintiff,

  vs.

  CHRYSALIS CENTER INC,

        Defendant.
  ______________________________/

                                    SUMMONS IN A CIVIL ACTION

  TO:     CHRYSALIS CENTER INC
          c/o EDUARDO LACASA, its Registered Agent
          3800 W. BROWARD BLVD., STE. 100
          FORT LAUDERDALE, FL 33312

          A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or
  60 days if you are the United States or a United States agency, or an officer or employee of the United
  States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the
  attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or
  motion must be served on the plaintiff or plaintiff’s attorney, whose name and address are:

                                           Toussaint Cummings, Esq.
                                           FairLaw Firm
                                           135 San Lorenzo Avenue
                                           Suite 770
                                           Coral Gables, FL 33146
                                           Tel:    (305) 230-4884
                                           toussaint@fairlawattorney.com

         If you fail to respond, judgment by default will be entered against you for the relief demanded in
  the complaint. You also must file your answer or motion with the court.

  Date:                                                    CLERK OF COURT

                                                           ____________________________
                                                           Signature of Clerk or Deputy Clerk



  Civil Action No.:
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                                             PROOF OF SERVICE
        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

         This summons for (name of individual and title, if any)_______________________________________________was
  received by me on (date)                                       .

         ␣      I personally served the summons on the individual at (place) ______________________________
                _______________________________,                                 on (date)_____________________; or

         ␣      I left the summons at the individual’s residence or usual place of abode with (name) _____________
                ____________________________________________________, a person of suitable age and discretion
                who resides there,                                      on (date)                       , and mailed
                a copy to the individual’s last known address; or

         ␣      I served the summons on (name of individual)___________________________________________________
                designated by law to accept service of process on behalf of (name of organization) _________________
                ____________________________________________on (date) _____________________________; or

         ␣      I returned the summons unexecuted because _______________________________________; or

         ␣      Other (specify):

                                                                                                              .

         My fees are $_________for travel and $____________for services, for a total of $___________

  I declare under penalty of perjury that this information is true.

  Date:______________                              _______________________________________
                                                              Server’s Signature

                                                   _______________________________________
                                                              Printed Name and Title

                                                   _______________________________________
                                                              Server’s address

  Additional information regarding attempted service, etc:
